                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


KYLE DAVID RIX,                     )
                                    )
           Plaintiff,               )
                                    )
v.                                  )                    Civil Action No.: 3:16-cv-03313
                                    )
FUJITSU TRANSACTION SOLUTIONS INC., )
FUJITSU AMERICA, INC., AND SOLAI &  )
CAMERON, INC.,                      )
                                    )
           Defendant.               )


                    STIPULATION OF DISMISSAL WITH PREJUDICE


       Plaintiff Kyle Rix, Defendant Fujitsu America, Inc., and Defendant Solai & Cameron, Inc.

have resolved the above-captioned matter and request, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii),

that the Court dismiss this action with prejudice, with each party to bear their own costs and fees.

Respectfully submitted,



s/ Roland Mumford (w/permission)                      s/ Pamela R. Irons
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                                                      ATTORNEYS FOR DEFENDANT
                                                      SOLAI & CAMERON, INC.



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s/ Shana G. Fonnesbeck (w/permission)
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ATTORNEYS FOR DEFENDANT
FUJITSU AMERICA, INC.

                                 CERTIFICATE OF SERVICE

         I hereby certify that I have, this 16th day of October, 2017, I filed the foregoing document
using the Court’s CM/ECF filing system, which will automatically send e-mail notification of such
filing to the following counsel of record:

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4844-0519-5857, v. 1



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